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lN THE UNITED STATES DISTRICT COURT $‘/U/§/

 

FOR THE WESTERN DISTRICT OF TENNESSEE 29 /e;-£4 \` §‘{/}
EASTERN DIVISION . /5; - -
TERRETTA WEBB,
Plaintiff,
v. NO. 04-1288 T/An

STANLEY JONES REALTY, INC.,

Defendant.

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ORDER GRANTING MOTION TO AMEND COMPLAINT

 

Before the Court is Plaintiff’ s Motion to Amend Complaint filed on June 21, 2005. For
the reasons set forth below, the Motion is GRANTED.

A pleading may be amended “only by leave of court . . . and leave shall be freely given
when justice so requires.” Fed. R. Civ. P. lS(a). “In deciding Whether to allow an amendment,
the court should consider the delay in filing, the lack of notice to the opposing party, bad faith by
the moving party, repeated failure to cure deficiencies by previous amendments, undue prejudice
to the opposing party, and futility of amendment.” Perkz`ns v. Am. Elec. Power Fuel Supply, Inc.,
246 F.3d 593, 605 (6th Cir. 2001). After review, the Court can see no reason Why the Motion
should not be granted Additionally, Defendant’s counsel has informed PlaintiffJ s counsel that
the Defendant does not oppose the instant motion Therefore, because motions to amend Should

be freely granted and for good cause shown, the Motion is GRANTED. Plaintiff is ordered to

Thie document entered on the docket sheet in compliance

with Ru|e 58 and.'or_79 (a) FHCP on Q h ’Q 3 ‘9~5

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file its Amended Complaint With the Clerk’s office within ll days of entry of this Order.

IT IS SO ORDERED.

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S. THOMAS ANDERSON

UNI'I`ED STATES MAGISTRATE IUDGE

Date: SQM& ZZ, 200.(

DISTRI T COURT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
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Honorable .l ames Todd
US DISTRICT COURT

